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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

EDDYSTONE RAIL COMPANY, LLC                          )
                                                     )
                                                     )      Civil Action No. 17-cv-00495
                Plaintiff,                           )
                                                     )
       v.                                            )
                                                     )
BRIDGER LOGISTICS, LLC, JULIO RIOS,
                                                     )
JEREMY GAMBOA, FERRELLGAS
                                                     )
PARTNERS, L.P., FERRELLGAS L.P.,
                                                     )
BRIDGER ADMINISTRATIVE SERVICES
                                                     )
II, LLC, BRIDGER MARINE, LLC,
                                                     )
BRIDGER RAIL SHIPPING, LLC,
                                                     )
BRIDGER REAL PROPERTY, LLC,
                                                     )
BRIDGER STORAGE, LLC, BRIDGER
                                                     )
SWAN RANCH, LLC, BRIDGER
                                                     )
TERMINALS, LLC, BRIDGER
                                                     )
TRANSPORTATION, LLC, BRIDGER
                                                     )
ENERGY, LLC, BRIDGER LEASING, LLC,
                                                     )
BRIDGER LAKE, LLC, J.J. LIBERTY, LLC,
                                                     )
J.J. ADDISON PARTNERS, LLC,

                Defendants.

________________________________________

                     NOTICE OF WITHDRAWAL OF JURY DEMAND

       Plaintiff Eddystone Rail Company, LLC (“Eddystone”), by and through its undersigned

counsel, hereby withdraws its demand for a trial by jury in this case. Pursuant to the Court’s

Order of April 12, 2019, Dkt. 318, Eddystone declines to consent to a trial by jury.

       Eddystone kindly requests that the Clerk of Court remove the jury demand designation

from the docket.




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Dated: April 17, 2019                      Respectfully submitted,

                                            /s/ Fil Agusti
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                                           Counsel for Eddystone Rail Company, LLC




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                                 CERTIFICATE OF SERVICE

       I certify that I filed the foregoing via the Court’s ECF system on April 17, 2019, thereby

serving all counsel of record.


                                                            /s/ Fil Agusti

                                                            Filiberto Agusti




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